                       EXHIBIT C


          (Plaintiff’s 5/1/23 Responses and
     Objections to First Requests for Production)




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